     Case 3:12-cv-01272-WQH-WMC Document 1 Filed 05/24/12 PageID.1 Page 1 of 8



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10                                                 IN THE UNITED STATES DISTRICT COURT
                                                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11
12   DREW HILL,                                                       )      Case No.:   '12CV1272 WQHWMc
                                                                      )
13                              Plaintiff,                            )
                                                                      )
14                              vs.                                   )      COMPLAINT
                                                                      )
15   LEADING EDGE RECOVERY                                            )      DEMAND FOR JURY TRIAL
     SOLUTIONS, LLC., an Illinois Limited                             )
16                                                                    )
     Liability Company,
                                                                      )
17                                                                    )
                                Defendant.                            )
18
                                                                  INTRODUCTION
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                                                                  U




20                              1.      This is an action for actual damages, statutory damages, attorney fees and costs brought

21   by an individual consumer, Drew Hill, (hereinafter “Plaintiff”) against Leading Edge Recovery

22   Solutions, LLC, an Illinois Limited Liability Company, (hereinafter “Defendant”) violations of the

23   Fair Debt Collection practices Act, 15 U.S.C. § 1692, et seq. (hereinafter “FDCPA”) 1 the Rosenthal     TPF   FPT




24   Fair Debt Collection Practices Act, California Civil Code § 1788 et seq. (hereinafter “the Rosenthal

25   Act”) 2 which prohibit debt collectors from engaging in abusive, deceptive and unfair practices and the
                    TPF   FPT




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          1
27   TP    PT   All undesignated section references to §1692 are to the FDCPA
          2
28   TP    PT   All undesignated section references to §1788 are to the Rosenthal Act


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                                                                          COMPLAINT
     Case 3:12-cv-01272-WQH-WMC Document 1 Filed 05/24/12 PageID.2 Page 2 of 8



 1   Telephone Consumer Protection Act, 47 U.S.C. §277 et seq, (hereinafter “TCPA”) 3 which prohibits
                                                                                                    TPF   FPT




 2   the making of un-consented to phone calls to cell phones.
 3                    2.       Plaintiff makes these allegations on information and belief, with the exception of those
 4   allegations that pertain to Plaintiff, or to plaintiff’s counsel, which Plaintiff allege on personal
 5   knowledge.
 6                    3.       While many violations are described below with specificity, this Complaint alleges
 7   violations of the statutes cited in their entirety.
 8                                                    JURISDICTION AND VENUE
 9                    4.       This action arises out of Defendant’s violations of the FDCPA, Rosenthal Act and
10   TCPA.
11                    5.       Jurisdiction arises pursuant to 28 U.S.C. §1391, 1337, 15 U.S.C. §1692(k)(d), and 47
12   U.S.C. §277 et seq. and 28 U.S.C.§1367 for supplemental state claims.
13                    6.       Venue is proper in this Court pursuant to 28 U.S.C. §1391.
14                                                              THE PARTIES
                                                                U




15                    7.       Plaintiff is a natural person residing in San Diego County, California.
16                    8.       Plaintiff is a “consumer” within the meaning of §1692a(3) in that he is a natural person
17   purportedly obligated to pay a credit card debt, allegedly owed to Discover Bank, (hereinafter “Debt”).
18                    9.       Plaintiff is a “debtor” as that term is defined by §1788.2(h).
19                    10.      Plaintiff is a “person” as defined by 47 U.S.C. §153(10).
20                    11.      Defendant Leading Edge Recovery Solutions, LLC, is an Illinois limited liability
21   company with its primary place of business located at 5440 North Cumberland Avenue, Suite 300,
22   Chicago, Illinois, and is registered to do business in the State of California, and may be served through
23   its registered agent, National Corporate Research, LTD at 1107 9 th Street, Suite 1025, Sacramento,
                                                                                        P   P




24   California 95814.
25                    12.      At all times relevant herein, Defendant Leading Edge Recovery Solutions, LLC was a
26   company engaged, by use of the mails and telephone in the business of collecting debts, as defined by
27
          3
28   TP    PT   All undesignated section references to 47 U.S.C. §277 are to the TCPA


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                                                                    COMPLAINT
     Case 3:12-cv-01272-WQH-WMC Document 1 Filed 05/24/12 PageID.3 Page 3 of 8



 1   §1692a(5), and consumer debts as defined by § 1788.2(f). Defendant Leading Edge Recovery
 2   Solutions, LLC regularly attempts to collect debts alleged to be due another and is therefore a debt
 3   collector within the meaning of §1692a(6) and §1788.2(c).
 4          13.     As Defendant does business in the state of California, and committed the acts that form
 5   the basis for this suit in the state of California, which includes using instrumentalities of interstate
 6   commerce by making phone calls across State boundaries to consumers residing in the Southern
 7   District of California, and by mailing letters to consumers in the Southern District of California, this
 8   Court has personal jurisdiction over Defendants for purposes of this action.
 9                                         FACTUAL ALLEGATIONS
                                           U




10          14.     At all times herein, Defendant, was attempting to collect, from Plaintiff, a debt as
11   defined by §1692a (5) of the FDCPA and a consumer debt as defined by § 1788.2(f) of the Rosenthal
12   Act.
13          15.     Prior to January 16, 2012, Plaintiff allegedly fell behind in the payment allegedly owed
14   on the alleged debt. Plaintiff currently neither admits nor denies that the debt is valid.
15          16.     Prior to January 16, 2012, the alleged debt was assigned, placed or otherwise
16   transferred to Defendant for collection.
17          17.     Beginning on or about January 19, 2012, and on multiple occasions since that time,
18   Defendant has constantly and continuously placed collection calls to Plaintiff seeking and demanding
19   payment for an alleged debt with the intent to annoy, abuse and/or harass him.
20          18.     These phone calls were communications within the meaning of §1692a(2).
21          19.     These phone calls were debt collections as defined in §1788.2(b).
22          20.     These phone calls were made to Plaintiff before 8:00 a.m. Pacific Standard Time.
23          21.     By communicating with Plaintiff before 8:00 a.m. Pacific Standard Time, a
24   presumptively and actually inconvenient time per §1692c(a)(1), Defendant violated §1692c(a)(1).
25          22.     By engaging in this conduct the natural consequence being harassment and oppression
26   of the Plaintiff in connection with the collection of a debt, Defendant violated §1692d and
27   §1788.11(e).
28          23.     Because these communications violated the language in §1692c(a)(1), Defendant also


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                                                     COMPLAINT
     Case 3:12-cv-01272-WQH-WMC Document 1 Filed 05/24/12 PageID.4 Page 4 of 8



 1   violated §1788.17 of the Rosenthal Act as it incorporates §1692c(a)(1).
 2          24.     Defendant placed these calls to Plaintiff’s cellular telephones via an “automatic
 3   telephone dialing system,” as defined by 47 U.S.C. §227(a)(1).
 4          25.     During these telephone calls Defendants used “an artificial or prerecorded voice” as
 5   prohibited by 47 U.S.C. §227(b) (1) (A).
 6          26.     These telephone calls constituted calls that were not for emergency purposes as defined
 7   by 47 U.S.C. §227(b) (1) (A.
 8          27.     Defendants’ misconduct in placing these telephone calls to Plaintiff’s cell phone was
 9   willful and knowing, and the Court should pursuant to section 47 U.S.C 227(b)(3)(C), treble the
10   amount of statutory damages recoverable by the Plaintiff.
11          28.     Plaintiff did not provide “express consent” allowing Defendants to place telephone calls
12   to Plaintiff’s cellular phone utilizing an “artificial or prerecorded voice” or placed by an “automatic
13   telephone dialing system,” within the meaning of 47 U.S.C. §227(b)(1)(A).
14          29.     Under the TCPA and pursuant to the FCC’s January 2008 Declaratory Ruling, the
15   burden is on the Defendants to demonstrate that Plaintiff provided express consent within the meaning
16   of the statute, because it is the best entity to determine how numbers were attained.
17          30.     These telephone calls by Defendant to Plaintiffs cell phone number violated 47 U.S.C.
18   §227(b) (1)(A)(iii).
19          31.     The telephone calls by Defendants harmed Plaintiff by numerous ways including but
20   not limited to the following:
21          (a)     caused Plaintiff to incur certain cellular telephone charges or reduce cellular
22                  telephone time for which Plaintiff previously paid,
23          (b)     waking him in the early morning repeatedly and continuously caused him stress,
24                  anxiety over anticipation of future early morning calls, frustration at being unable to
25                  predict or stop the early morning calls, loss of sleep and resulting overall diminished
26                  abilities to carry on his activities of daily living.
27   ///
28   ///


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                                                     COMPLAINT
     Case 3:12-cv-01272-WQH-WMC Document 1 Filed 05/24/12 PageID.5 Page 5 of 8



 1                                             FIRST CLAIM FOR RELIEF
                                               U




 2                                                 (Violations of the FDCPA)
 3          32.     Plaintiff repeats, re-alleges, and incorporates by reference all the allegations contained
 4   in the paragraphs above.
 5          33.     The foregoing acts and omissions constitute numerous and multiple violations of the
 6   FDCPA, including but not limited to each and every one of the above cited provisions of §1692 et seq.
 7          34.     As result of each and every violation of the FDCPA, Plaintiff is entitled to any actual
 8   damages pursuant to 15 U.S.C. §1692k(a)(1); statutory damages in an amount up to $1,000.00
 9   pursuant to 15 U.S.C. §1692k(a)(2)(A); reasonable attorney’s fees and costs pursuant to 15 U.S.C.
10   §1692k(a)(3) from defendant.
11                                     SECOND CLAIM FOR RELIEF
                                       U




12                                (Claim for violations of the Rosenthal Act)
13          35.     Plaintiff repeats, re-alleges, and incorporates by reference all the allegations contained
14   in the paragraphs above.
15          36.     Plaintiff is entitled to statutory damages of $1000.00 under §1788.17 of the Rosenthal
16   act for Defendant violations, as enumerated above, of the FDCPA. Because the above stated conduct
17   violated certain portions of the FDCPA as these portions are incorporated by reference in §1788.17,
18   each of those acts or omissions also violated §1788.17.
19          37.     Plaintiff is entitled to statutory damages of $1000.00 under §1788.30(b) for Defendant
20   violations, as enumerated above, of the §1788.11(e).
21          38.     Pursuant to §1788.32, the remedies provided under §§1788.30(c) and 1788.17 are
22   intended to be cumulative and in addition to any other procedures, rights or remedies that Plaintiff may
23   have under any other provision of law.
24          39.     Plaintiff is also entitled to attorney’s fees and costs for violations of the Rosenthal Act
25   pursuant to §1788.30(c).
26                                         THIRD CLAIM FOR RELIEF
                                           U




27                                    (Negligent Violations of the TCPA)
28          40.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint as


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                                                          COMPLAINT
     Case 3:12-cv-01272-WQH-WMC Document 1 Filed 05/24/12 PageID.6 Page 6 of 8



 1   though fully stated herein.
 2             41.     The foregoing acts and omissions of Defendant constitute numerous and multiple
 3   negligent violations of the TCPA, including but not limited to each and every one of the above-cited
 4   provisions of 47 U.S.C. §227 et seq.
 5             42.     As a result of Defendant’s negligent violations of 47 U.S.C. §227 et seq., Plaintiff is
 6   entitled to an award of $500.00 in statutory damages for each and every violation, pursuant to 47
 7   U.S.C. §227(b) (3) (B).
 8             43.     Plaintiff is also entitled to and seeks injunctive relief prohibiting such conduct in the
 9   future.
10                                        FOURTH CLAIM FOR RELIEF
                                          U                                     U




11                               (Knowing and/or Willful Violations of the TCPA)
12             44.     Plaintiff incorporates by reference all of the above paragraphs before his Fourth Count
13   for Relief as though fully stated herein.
14             45.     The foregoing acts and omissions of Defendant constitute numerous and multiple
15   knowing and/or willful violations of the TCPA, including but not limited to each and every one of the
16   above-cited provisions of 47 U.S.C. §227 et seq.
17             46.     As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §227 et seq.,
18   Plaintiff is entitled to an award of $1,500.00 in statutory damages for each and every violation,
19   pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
20                                             PRAYER FOR RELIEF
                                               U




21             WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and for Plaintiff,
22   and pray for the following relief:
23                   (1)   Assume jurisdiction in this proceeding;
24                   (2)   Declare that the Defendant violated the FDCPA;
25                   (3)   Declare that the Defendant violated the Rosenthal Act;
26                   (4)   Declare that the Defendant violated the TCPA;
27                   (5)   Award of actual damages in accordance with proof at trial, pursuant to §1692k(a)(1)
28                         of the FDCPA;


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                                                       COMPLAINT
     Case 3:12-cv-01272-WQH-WMC Document 1 Filed 05/24/12 PageID.7 Page 7 of 8



 1                           (6)   Award of statutory damages of $1,000.00 pursuant to § 1692k(a)(2)(A) of the
 2                                 FDCPA;
 3                           (7)   Award of statutory damages of not less than one hundred dollars ($100) and not
 4                                 more than one thousand dollars ($1000.00) pursuant to § 1788.30(b) of the
 5                                 Rosenthal Act for violations of §1788.11(e);
 6                           (8)   Award of statutory damages of $1,000.00 pursuant to § 1788.17 4 of the Rosenthal
                                                                                                       F   F




 7                                 Act;
 8                           (9)   Award of the costs of litigation and reasonable attorney’s fees, pursuant to §1692k
 9                                 (a) (3) of the FDCPA and §§1788.17 5 and 1788.30(c) of the Rosenthal Act;
                                                                         F   F




10                          (10)   Award of statutory damages of $500.00 for each and every negligent violation of
11                                 the TCPA, pursuant to 47 U.S.C. §227(b) (3) (B)
12                          (11)   Award of statutory damages of $1,500.00 for each and every knowing and/or
13                                 willful violation of the TCPA, pursuant to 47 U.S.C. §227(b)(3)(C)
14                          (12)   Such other and further relief this court may deem just and proper.
15                                                        TRIAL BY JURY
                                                          U




16                    47.      Pursuant to the seventh amendment to the Constitution of the United States of America,
17   Plaintiff is entitled to, and demands, a trial by jury.
18
19                                                            Lester & Associates
20
21   May 24, 2012                                             s/Patric A. Lester
                                                              U                                    U




     Dated                                                    By Patric A. Lester
22                                                            Attorney for Plaintiff,
                                                              Drew Hill
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24
25
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27
          4
28   TP    PT   § 1692k(a)(2)(A)of the FDCPA
          5
     TP    PT   §1692k(a)(3)

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                                                                  COMPLAINT
     Case 3:12-cv-01272-WQH-WMC Document 1 Filed 05/24/12 PageID.8 Page 8 of 8



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